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                                       UNITED STATES DISTRICT COURT
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                                      CENTRAL DISTRICT OF CALIFORNIA
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12   MICHAEL PRESTON and PENELOPE                        )   CASE NO. CV 18-38-R
13   TURGEON, individually and on behalf of all          )
     others similarly situated,                          )   ORDER GRANTING DEFENDANT’S
14                                                       )   MOTION TO DISMISS FIRST
                        Plaintiffs,                      )   AMENDED CLASS ACTION
15                                                       )   COMPLAINT
            v.                                           )
16                                                       )
17   AMERICAN HONDA MOTOR COMPANY,                       )
     INC.,                                               )
18                                                       )
                       Defendant.                        )
19                                                       )
20          Before the Court is Defendant’s Motion to Dismiss Plaintiffs’ First Amended Class Action

21   Complaint, filed on March 19, 2018. (Dkt. 62). The case was initially filed in the District Court

22   for the Northern District of Illinois but was later transferred here. Having been thoroughly briefed

23   by the parties, this Court took the matter under submission on April 12, 2018.

24          Rule 12(b)(6) dismissal is proper when a complaint exhibits “the lack of a cognizable legal

25   theory or the absence of sufficient facts alleged under a cognizable legal theory.” Balistreri v.

26   Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). A plaintiff must allege “enough facts to

27   state a claim to relief that is plausible on its face,” so the defendant receives “fair notice of what

28   the…claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
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 1   555, 570 (2007). Courts will not accept “[t]hreadbare recitals of the elements of a cause of action,

 2   supported by mere conclusory statements….” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Where

 3   a plaintiff pleads facts “merely consistent with” a defendant’s liability, the plaintiff “stops short of

 4   the line between possibility and plausibility of entitlement to relief.” Id. When determining

 5   plausibility, a court must also consider whether there is an “obvious alternative explanation” for

 6   the defendant’s conduct. Id. at 682.

 7           Plaintiff Michael Preston alleges the following. In June 2015, he leased a 2015 Honda

 8   Accord from Muller Honda in Illinois. In November 2016, well within the new vehicle warranty

 9   period, his car lost power steering. He brought his car back to Muller for repair and was given a

10   repair invoice of $2,146.16. Muller told Preston that rodents chewed through wiring necessitating

11   replacement of certain power steering parts. Muller did not cover the repairs under warranty.

12          Plaintiff Penelope Turgeon alleges the following. In May 2017, she leased a Honda Civic

13   Hatchback at Fletcher Jones Honda in Illinois. In July 2017, well within the new vehicle warranty

14   period, her car lost power steering. She brought her car back to Fletcher Jones for service and was

15   told of major damage to her electronic power steering harness caused by rodents that chewed

16   through bare wires. She received a repair invoice of $313.28. Fletcher Jones covered the replaced

17   wiring with rodent tape and replaced the power steering sub harness. Fletcher Jones did not cover

18   the repairs under warranty. Less than two weeks later, she experienced another loss of power

19   steering and was told her harness needed a second replacement. Fletcher Jones replaced the part,

20   applied rodent tape, and did not cover the repair under warranty.

21          Plaintiffs bring this putative class action claim under the Illinois Consumer Fraud and

22   Deceptive Business Practices Act (“ICFA”). Plaintiffs claim that all new Hondas purchased or

23   leased from an authorized Illinois dealership between May 2014 and May 2017 are defective

24   because unspecified soy or bio-based components within the cars attract rodents that chew through

25   wires and cause a power steering malfunction. They claim Defendant knew its cars were

26   particularly susceptible to rodent damage because it marketed and sold special rodent tape but

27   withheld this information from customers. They claim Defendant omitted telling customers that

28   repairs caused by rodent damage were not warranted.


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 1            Although the First Amended Complaint (“FAC”) is not a model of clarity, it appears

 2   Plaintiffs’ ICFA claim is based on two separate theories. The first is that Defendant knew its

 3   vehicles—allegedly composed of unspecified soy and bio parts that attract rodents—were

 4   defective because power steering wires had to be covered in rodent tape to prevent rodent attacks,

 5   but Defendant failed to address or warn customers of the defect. (See FAC ¶¶ 36, 51-53, 56-57,

 6   59). The second is that Defendant misrepresented the scope of the warranty by hiding the limits of

 7   the warranty from customers until after purchase. (See FAC ¶¶ 36, 46-49, 65).

 8            Defendant argues the FAC must be dismissed for failure to provide fair notice of Plaintiffs’

 9   claim under Rule 8. This Court agrees that Plaintiffs’ first theory of liability—dependent on

10   whether the vehicles are defective—violates Rule 8. Plaintiffs do not allege which, if any, power-

11   steering components are soy or bio-based, leaving Defendant without guidance to investigate the

12   alleged defects. Plaintiffs also do not provide factual support for their bald assertion that soy or

13   bio components attract rodents. (See FAC ¶ 51). Moreover, while Plaintiffs purport to limit their

14   claim to power steering components, the allegations demonstrate otherwise. Specifically,

15   Plaintiffs allege that “whether the chewed wire itself is soy or bio-based is irrelevant because any

16   soy or bio-based component nearby creates the rodent-attractive environment.” (FAC ¶ 51).

17   Plaintiffs do not specify what they mean by “nearby,” potentially placing all components within

18   the entire engine compartment at issue. Like this Court said in McKown, the amount of

19   components and parts in a vehicle is exceedingly large, and that number grows when considering

20   every model produced over a span of three years. McKown v. Am. Honda Motor Co., Inc., 2017

21   WL 4786086, at * 2 (C.D. Cal. July 11, 2017). Without guidance relating to the location and

22   scope of the alleged defect, Defendant will struggle to craft a meaningful response to Plaintiffs’

23   claim.

24            Although Plaintiffs argue in opposition that McKown is materially different because

25   Plaintiffs here limit their claims to the power steering box, Plaintiffs’ allegations are just as

26   expansive as the allegations in McKown. While the damaged parts may be limited to the power

27   steering box, the defective parts—the soy or bio-based components that allegedly attract the

28   rodents—may be anywhere in the engine based on Plaintiffs’ allegations. But see Hardt v.


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 1   Chrysler Group LLC, 2015 WL 12683965, at * 5 (C.D. Cal. June 15, 2015) (alleging which parts

 2   were damaged was sufficient where damaged parts were themselves defective).

 3            Plaintiffs appear to shift gears, arguing that “[t]he critical question is not which parts were

 4   soy or bio-based but whether the parts that Plaintiffs had to pay to replace in their vehicles were

 5   defective because they first had to be covered in rodent tape to withstand normal daily use.” In

 6   other words, Plaintiffs argue that the damaged wires themselves are defective simply because

 7   rodents enjoy chewing on them, even if the wires do not attract rodents. The Court rejects this

 8   argument. Properly functioning wires are not rendered defective simply because rodents enjoy

 9   chewing on them. That rodent tape serves as a deterrent does not mean the wires are defective

10   unless wrapped in tape.

11            Similarly, it is implausible that Defendant’s use of rodent tape serves as an admission that

12   its vehicles are defective, i.e. particularly attractive to rodents, and its wires are unfit for daily use.

13   (FAC ¶ 8). Apart from the unwarranted logical leap such an allegation requires, an obvious

14   alternative explanation is good customer service, that Defendant identified a problem—rodents

15   chew on vehicle wires—and crafted a solution—rodent tape. Heber v. Toyota Motor Sales U.S.A.,

16   Inc., 2017 WL 5642312, at *2 (C.D. Cal. Sept. 20, 2017) (allegations that soy components attract

17   rats implausible where “obvious alternative explanation” was natural tendency for rats to go where

18   unwanted). Accordingly, Plaintiffs do not provide fair notice of any purported defect, and

19   Plaintiffs’ first theory of liability under the ICFA fails.

20            Plaintiffs’ second theory of liability under the ICFA is based on whether Defendant

21   misrepresented the scope of the warranty. Plaintiffs allege that Defendant advertised a 3-

22   year/36,000-mile warranty that covered power steering malfunctions but did not tell customers

23   that rodent damage to power steering components would not be covered.1

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      It is not clear whether Plaintiffs claim Defendant breached the express warranty by failing to cover rodent damage.
27   Although Plaintiffs do not specifically bring a claim for breach of warranty, their allegations suggest as much. (See
     FAC ¶ 59). Defendant’s warranty booklet, a proper subject of judicial notice, specifies that the warranty covers only
     defects in “materials and workmanship.” First, as explained, Plaintiffs fail to allege any facts suggesting the vehicles
28   are defective. Second, any such defects are design defects which do not fall under defective materials or
     workmanship. See, e.g., Gertz v. Toyota Motor Corp., 2011 WL 3681647, at *3 (C.D. Cal. Aug. 22, 2011).
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 1            The ICFA makes actionable unfair or deceptive business practices. Martis v. Pekin

 2   Memorial Hosp. Inc., 395 Ill. App. 3d 943, 949 (Ill. App. Ct. 2009). “A deceptive practices claim

 3   must meet Rule 9(b)’s heightened pleading standard, while an unfair practices claim need not

 4   because it is not based on fraud.” Wheeler v. Assurant Specialty Property, 125 F. Supp. 3d 834,

 5   842 (N.D. Ill. 2015).

 6            Plaintiffs allege that Defendant’s conduct was unfair and deceptive. (See FAC ¶¶ 11, 63,

 7   65, 66). Nevertheless, Plaintiffs argue that their claim is based only on unfair practices. Although

 8   Plaintiffs repeatedly use the word “unfair,” it is clear that their claim is predicated on deception,

 9   that Defendant allegedly knew about the rodent problem and misled customers into believing

10   related repairs would be warranted. See, e.g., Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d

11   732, 737 (7th Cir. 2014) (“Simply adding language of ‘unfairness’ instead of ‘misrepresentation’

12   does not alter the fact that Camasta’s allegations are entirely grounded in fraud under the ICFA.”).

13   Accordingly, Plaintiffs’ claim must meet the heightened Rule 9(b) pleading requirements.

14            To maintain a deceptive omission claim under the ICFA, the plaintiffs must first allege a

15   communication containing the deceptive omission. Schwebe v. AGC Flat Glass N.A., Inc., 2013

16   WL 2151551, at *2 (N.D. Ill. May 16, 2013). Second, the plaintiffs must allege that the defendant

17   intended the plaintiffs to rely on the deceptive omission. Minter v. Diamond, 2017 WL 1862639,

18   at *6 (N.D. Ill. May 9, 2017). Third, there must be a causal link between the deceptive omission

19   and the harm. Martis, 395 Ill. App. 3d at 949.

20            The pre-sale communications at issue are Defendant’s “Monroney stickers” that allegedly

21   promote a 3-year/36,000-mile warranty purporting to cover power steering malfunctions. These

22   stickers allegedly omit the limits of the warranty—including that damage caused by rodents is not

23   warranted—which are not revealed until customers receive a warranty booklet after purchase.

24            It is not clear that the federally mandated Monroney stickers count as a communication for

25   purposes of the ICFA or that Defendant is permitted to include the fine print on the stickers. In

26   any case, Plaintiffs fatally do not allege that they read or relied on the Monroney stickers or any

27   other pre-sale communication before purchasing their vehicles.2 Therefore, there is no causal link

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     2
      Plaintiffs argue they allege reliance on unspecified product advertisements in the original complaint. (Opposition at
     17). They do not allege reliance on any pre-sale communications in the FAC.
                                                               5
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 1   between the allegedly deceptive omission and the harm, and Plaintiffs’ second theory of liability

 2   under the ICFA fails.

 3          IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss Plaintiffs’ First

 4   Amended Class Action Complaint is GRANTED.

 5   Dated: May 24, 2018.

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                                                            MANUEL L. REAL
 9                                                  UNITED STATES DISTRICT JUDGE

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